                           IN THE UNITED STATES COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                              CHATTANOOGA DIVISION



 MAVIE DENISE YOUNGSON and                                  )
 TIMOTHY WAYNE YOUNGSON,                                    )
                                                            )
        Plaintiffs,                                         )
                                                            )     Civil Action No. 1:17-cv-108
 v.                                                         )     (Consolidated 1:17-cv-69)
                                                            )     REEVES/STEGER
 BOBO TRANSPORTATION, INC.,                                 )
 OLIM KODIROV,                                              )
 LOGISTICS BUDDY, LLC and                                   )
 LOGISTICS BUDDY TRANSPORTATION, LLC,                       )
                                                            )
        Defendants.                                         )
                                                            )
                                                            )
 CRYSTINA BASS and                                          )
 CHRISTOPHER A. BASS,                                       )
                                                            )
        Plaintiffs,                                         )
 v.                                                         )
                                                            )
 BOBO TRANSPORTATION, INC.,                                 )
 OLIM KODIROV, PROCTER & GAMBLE                             )
 DISTRIBUTING, LLC, PROCTER & GAMBLE                        )
 MANUFACTURING COMPANY, PROCTER &                           )
 GAMBLE COMPANY, PROCTER & GAMBLE,                          )
 LOGISTICS BUDDY, LLC and                                   )
 LOGISTICS BUDDY TRANSPORTATION, LLC,                       )
                                                            )
        Defendants.                                         )


         DEFENDANT BOBO TRANSPORTATION, INC.’S SUPPLEMENTAL
       RESPONSE TO PLAINTIFFS’ (BASS) MOTION TO COMPEL DISCOVERY


        The defendant, Bobo Transportation, Inc., submits a supplemental response to its Response

 filed with this Court on February 12, 2018 to the Plaintiffs (Bass) Motion to Compel.



                                 Page 1 of 3
Case 1:17-cv-00069-PLR-CHS Document 59 Filed 02/16/18 Page 1 of 3 PageID #: 286
        This party would show the Court that it has now provided responses to the plaintiffs’

 discovery requests with those responses being emailed and mailed to plaintiffs’ Bass counsel on

 February 16, 2018 and mailed to all other counsel of record by Certificate of Service dated

 February 16, 2018 (Exhibit 1 – Defendant Bobo Transportation’s Responses to Interrogatories and

 Requests for Production of Documents without exhibits).



                                     Respectfully submitted,


                                     s/ Paul L. Sprader
                                     Paul L. Sprader (#014493)
                                     LeVAN, SPRADER, PATTON & PLYMIRE
                                     201 Fourth Avenue North, Suite 1500
                                     Nashville, TN 37219
                                     (615) 843-0300 Phone
                                     (615) 843-0310 Facsimile
                                     psprader@lsplaw.net
                                     Attorney for Defendant, Bobo Transportation, Inc.




                                 Page 2 of 3
Case 1:17-cv-00069-PLR-CHS Document 59 Filed 02/16/18 Page 2 of 3 PageID #: 287
                                     CERTIFICATE OF SERVICE

         I hereby certify that, on this 16th day of February, 2018, I electronically filed this document
 with the Clerk of Court using the CM/ECF system which will automatically send e-mail notification
 of such filing to the attorneys of record below:

 Hubert E. Hamilton                                    Jeffrey S. Rosenblum
 Patrick A. Cruise                                     Matthew T. May
 The Hamilton Firm                                     Rosenblum & Reisman, P.C.
 2401 Broad Street, Suite 102                          6070 Poplar Avenue, Suite 550
 Chattanooga, TN 37408                                 Memphis, TN 38119
 heh@thehamiltonfirm.com                               Jeffr@randrfirm.com
 pac@thehamiltonfirm.com                               matt@randrfirm.com
 Attorneys for the Bass Plaintiffs                     Attorneys for Youngson Plaintiffs

 Matthew E. Wright                                     Hannah Lowe
 Wright Law, PLC                                       Kenneth W. Ward
 219 3rd Avenue North                                  Trammell, Adkins & Ward, P.C.
 Franklin, TN 37064                                    P.O. Box 51450
 mwright@wrightlawplc.com                              Knoxville, TN 37950-1450
 Attorney for Youngson Plaintiffs                      hannahlow@tawpc.com
                                                       kenward@tawpc.com
                                                       Attorneys for Defendant, Olim Kodirov

 Richard L. Hollow                                     Henry E. Seaton
 Hollow & Hollow, LLC                                  Seaton & Husk, LP
 P.O. Box 11166                                        5312 Otter Creek Court
 Knoxville, TN 37939                                   Brentwood, TN 37027
 rhollow@hollowlaw.com                                 heseaton@aol.com
 Attorney for Logistics Buddy, LLC                     Attorney for Logistics Buddy, LLC

 M. Andrew Pippenger                                   Daniel J. Ripper
 Leitner Williams Dooley Napolitan PLLC                Luther-Anderson, PLLP
 200 W. Martin Luther King Blvd.                       100 W. Martin Luther King Blvd.
 Tallan Building, Suite 500                            One Union Square, Suite 700
 Chattanooga, TN 37402                                 Chattanooga, TN 37402
 andy.pippenger@leitnerfirm.com                        dan@lutheranderson.com
 Attorney for Logistics Buddy                          Attorney for Defendants, Procter & Gamble
 Transportation, Inc.                                  Distributing, LLC, Procter & Gamble
                                                       Manufacturing Company, Procter & Gamble
                                                       Company and Procter & Gamble


                                                s/ Paul L. Sprader
                                                Paul L. Sprader




                                 Page 3 of 3
Case 1:17-cv-00069-PLR-CHS Document 59 Filed 02/16/18 Page 3 of 3 PageID #: 288
